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14   and OTTOMOTTO LLC

15                                UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
17                                      SAN FRANCISCO DIVISION
18   WAYMO LLC,                                            Case No.     3:17-cv-00939-WHA
19                         Plaintiff,                      DEFENDANTS’ RESPONSE TO
                                                           WAYMO’S OBJECTIONS TO
20          v.                                             EVIDENCE CITED IN DEFENDANTS’
                                                           PRELIMINARY INJUNCTION SUR-
21   UBER TECHNOLOGIES, INC.,                              REPLY
     OTTOMOTTO LLC; OTTO TRUCKING LLC,
22                                                         Date:    May 3, 2017
                           Defendants.                     Time:    7:30 a.m.
23                                                         Ctrm:    8, 19th Floor
                                                           Judge:   The Honorable William Alsup
24
                                                           Trial Date: October 2, 2017
25

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            REDACTED VERSION OF DOCUMENT SUBMITTED UNDER SEAL
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     DEFENDANTS’ RESPONSE TO WAYMO’S OBJECTIONS TO EVIDENCE CITED IN DEFENDANTS’ PRELIMINARY
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 1                                              Introduction

 2          “[N]o defendant should have to litigate against a moving target because a plaintiff does

 3   not know what its own trade secrets are.”1 Waymo had an obligation to identify its trade secrets

 4   with “enough detail so that the defendant is able to learn the boundaries of the alleged trade secret

 5   in order to investigate defenses.”2 Instead, Waymo and its expert, Gregory Kintz, responded to

 6   Defendants’ evidence of public knowledge and independent development by altering the scope of

 7   Waymo’s alleged trade secrets. Additionally, with respect to its patent allegations, Waymo

 8   switched targets from Uber’s Fuji system to the abandoned Spider design and accused Spider of

 9   using a trade secret that was not in Waymo’s opening papers.

10          Waymo’s shifting definitions of its alleged trade secrets are particularly egregious given

11   that it has the burden of proof on independent development. Contrary to Waymo’s argument that

12   defendant bears the “heavy burden of persuasion,”3 this Court has explained that “[p]laintiff has

13   the burden of establishing that defendants did not independently derive trade-secret

14   information.”4 The California Court of Appeal rejected the unpublished Cybertek trial court

15   decision cited by Waymo, concluding instead that independent development is not “an affirmative

16   defense, but a traverse.”5 “Evidence of independent derivation” therefore “directly refutes the

17   element of use through improper means.”6

18          In order to address these new arguments raised by Waymo after its opposition, Defendants

19   submitted supplemental declarations from Uber engineers James Haslim and Scott Boehmke, and

20   expert Dr. Michael Lebby. These declarations respond to Waymo’s new assertions and re-

21

22          1
              Avago Techs., Inc. v. IPtronics Inc., No. 5:10-cv-02863, 2015 WL 2395941, at *5 (N.D.
     Cal. May 19, 2015).
23          2
              VasoNova Inc. v. Grunwald, No. C 12–02422, 2012 WL 4119970, at *2 (N.D. Cal. Sept.
     18, 2012).
24          3
              Waymo’s Objections at 7 n.5 (citing Cybertek Comp. Prods., Inc. v. Whitfield, 203
     U.S.P.Q. 1020, 1977 WL 22730, at *5 (Cal. Super. Ct. Nov. 31, 1977)); see also 5/3/2017 PM
25   Sealed Hr’g Tr. 67:8-11.
            4
              Rita Med. Sys., Inc. v. Resect Med., Inc., No. C 05-03291 WHA, 2007 WL 161049, at *8
26   (N.D. Cal. Jan. 17, 2007) (granting defendants’ motion for summary judgment because “no
     reasonable juror could find that [defendants] did not independently derive their customer list”).
27          5
              Sargent Fletcher, Inc. v. Able Corp., 3 Cal. Rptr. 3d 279, 286-287 (2003) (stating that
     “Cybertek has no value in this court”).
28          6
              Id. at 287.
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 1   defined trade secrets, and are thus appropriate on sur-reply.7

 2          Moreover, Waymo cannot complain about prejudice when the Court has allowed Waymo

 3   more deposition time with Uber engineer James Haslim and permitted Waymo to submit

 4   deposition excerpts into the record. (5/3/2017 PM Sealed Hr’g Tr. 77:8-14.) On May 4, 2017,

 5   Waymo thoroughly deposed Mr. Haslim for over five and a half additional hours on the record,

 6   on both his opening and supplemental declarations, and the exhibits attached thereto.

 7   (Declaration of Esther Kim Chang in Support of Defendants’ Response to Waymo’s Objections to

 8   Evidence Cited in Defendants’ Sur-Reply (“Chang Decl.”) ¶ 2.)

 9          A.       Waymo Redefined Its Alleged Trade Secret of
10          Since the filing of Waymo’s preliminary injunction motion, Waymo has redefined its

11   alleged trade secret of                  . Waymo’s trade secret list defines TS List No. 1 as:

12

13

14

15

16   (Jaffe Decl. Ex. 1 at 2.) In his opening declaration of March 10, 2017, however, Mr. Kintz called

17   the alleged trade secret the                                                            in       .

18   (Kintz ¶¶ 30, 32.) Specifically, he stated that Fuji’s PCB

19                                           based on measuring the

20          on a single Fuji board (not every pair of diodes). (Id. ¶¶ 31-32.) Mr. Kintz described

21   Fuji’s use of the alleged trade secret as follows : (1)

22                                                             based on

23                                                                               and (2)

24                                                                                     based on the

25

26

27
28          7
                See Sosa v. Pfeiffer, No. 10cv0280, 2013 WL 5204104, at *4 (S.D. Cal. Sept. 16, 2013).
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 1                                  (Id. ¶ 33 (emphasis added).)8 Mr. Kintz’s declaration did not use the

 2   word                                   to describe this        . (Id. ¶¶ 29-35.)

 3           In his reply declaration of April 21, 2017, Mr. Kintz changed his description of the alleged

 4   trade secret to

 5

 6                                             (Kintz Reply ¶ 4; see also id. ¶¶ 5-7, 10, 13, 15.) Based on

 7   this redefinition, Mr. Kintz opined that Fuji’s                    could not have been the result of

 8   Boehmke’s independent development work, which allegedly only showed lasers that are

 9                                                                                              but are

10                                               (Id. ¶ 19.) Mr. Kintz also argued for the first time that

11   Waymo’s alleged trade secret requires

12                                 which Mr. Kintz argued was not present in Mr. Boehmke’s work. (Id.

13   ¶ 20; compare Kintz ¶¶ 29-35 (no discussion of                            ).)

14           Then, at his deposition on April 26, 2017, Mr. Kintz introduced a new characterization of

15   the alleged trade secret as

16                                                                        (Chang Decl. Ex. A, Kintz Dep.

17   63:6-14.) Mr. Kintz further testified that

18

19                                                                                   (Id. at 63:15-64:14.)

20           Mr. Kintz further expanded in deposition on the way to calculate                              by

21   “taking the                                                                                     and

22                                                                                                        (Kintz

23   Dep. 34:19-25; see also id. at 36:12-21, 49:14-50:10.) Mr. Kintz also said he looked at the

24                                       to determine                                because

25                                                                                                           ;

26

27           8
             Later, in deposition, Mr. Kintz testified that he determined that Fuji boards had
                                         by visual inspection, not by measuring every diode. (Kintz
28   Dep. 55:2-56:10.)
     DEFENDANTS’ RESPONSE TO WAYMO’S OBJECTIONS TO EVIDENCE CITED IN DEFENDANTS’ PRELIMINARY
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 1   “[i]deally,” he would need                                                        to determine

 2   whether or not the diodes have                                   (Id. 54:1-12, 89:17-90:6.) Mr.

 3   Kintz further explained that, by                        he was not computing just the

 4                                 of two diodes. (Id. at 50:16-21.)9 None of this explanation had been

 5   provided in Mr. Kintz’s opening or reply declarations, and so Uber had no opportunity to respond

 6   prior to submitting its sur-reply papers.

 7            The following portions of the sur-reply declarations are proper responses to Waymo and

 8   Mr. Kintz’s new arguments:

 9                Dr. Lebby’s Opinion Regarding Alleged Trade Secret No. 1 (Supp. Lebby ¶¶ 49-
                   56; Sur-reply at 5:1-3).
10

11            As Mr. Kintz acknowledged in his reply declaration (¶ 14), Dr. Lebby originally discussed

12   the well-known concept of foveated vision, referencing Dr. McManamon and the Velodyne ’190

13   patent, and how the

14                            . (Lebby ¶¶ 38-39.) In response to Mr. Kintz’s new definition of

15                provided in Mr. Kintz’s reply declaration and at deposition, Dr. Lebby explained how

16   the concept of                                                               (as defined for the first

17   time by Mr. Kintz at his deposition) is present in the ’136 patent application. (Supp. Lebby ¶ 55.)

18   Dr. Lebby further explained how Fuji does not have

19                        in accordance with Mr. Kintz’s new definition. (Id. ¶ 56.) Dr. Lebby also

20   responded to Mr. Kintz’s argument in his reply declaration, based on his new definition of

21                                    , that Mr. Boehmke’s work could not have resulted in Fuji. (Id.

22   ¶¶ 49-53.) Dr. Lebby also responded to Waymo’s new argument in its reply brief that the

23   Velodyne ’190 patent does not teach                         of diodes “in a single device.” (Id.

24   ¶ 54.)

25

26

27            9
              Notably, at the May 3, 2017 Preliminary Injunction hearing, Waymo’s counsel argued
     that                   is determined by                                                  in an
28   apparent attempt to change the target once again. (5/3/2017 AM Sealed Hr’g Tr. 23:7-15.)
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 1                 Mr. Boehmke’s Work with                (Supp. Boehmke ¶¶ 2-5; Sur-reply at 3:2-4,
                    3:6-8).
 2

 3              Mr. Boehmke responded to Mr. Kintz’s new argument that the beam spacing Mr.

 4   Boehmke provided to                was in symmetric zones and therefore did not have

 5                                as defined by Mr. Kintz in his reply declaration and at

 6   deposition. (Kintz Reply ¶ 19; Supp. Boehmke ¶¶ 2-5.) Mr. Boehmke explained in his

 7   supplemental declaration that while             ’s non-custom spacing may be in symmetric zones,

 8   the preliminary specifications and the final specifications he provided to             had a beam

 9   pattern where (1)

10                                                                        (Supp. Boehmke ¶¶ 4-5.)

11                 Mr. Boehmke’s Work on                                                        (Supp.
                    Boehmke ¶¶ 6-10; Sur-reply at 3:4-6).
12

13              Mr. Boehmke responded to Mr. Kintz and Waymo’s new argument that Mr. Boehmke

14   failed to support independent development of the positioning of

15                          , which was not previously part of Waymo’s trade secret definition. (Kintz

16   Reply ¶ 20; Supp. Boehmke ¶¶ 6-10.) Mr. Boehmke explained in his supplemental declaration

17   that (1)                                                          , as shown in Exhibit C to his

18   original declaration (Supp. Boehmke ¶ 7), and (2) there is evidence of his work on

19                             in March 2016 (id. ¶ 8).

20                 Mr. Boehmke Was Not Directed by Anthony Levandowski To Develop
                                (¶¶ 11-13; Sur-reply at 1:13-14, 2:19-21, 3:6-7, 3:12-13).
21

22              Mr. Boehmke responded to Waymo’s new arguments that “it was Levandowski who

23   provided direction to Boehmke for Uber’s                           ,” based on June 2016 emails

24   between Anthony Levandowski and Mr. Boehmke. (Waymo Reply Br. at 4:7-8.) Mr. Boehmke

25   explained in his supplemental declaration that (1) the June 2016 emails that Waymo cites relate to

26   Spider, not Fuji (Supp. Boehmke ¶ 11); (2) Mr. Boehmke independently came up with

27                    before the cited June 2016 emails (id. ¶ 11); (3) he independently created the beam

28   spacing and angles implemented in Fuji (id. ¶ 12); and (4) Mr. Levandowski did not direct the

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 1   pivot from Spider to Fuji, but deferred to the engineers’ judgment and recommendation (id. ¶ 13).

 2                                         (Supp. Boehmke ¶¶ 14-17; Sur-reply at 3:8-10).
 3          Mr. Boehmke responded to Mr. Kintz’s new argument that the                               in

 4   the custom                          that Mr. Boehmke developed was “very different” from the

 5                                              (as re-defined by Mr. Kintz) in Fuji (Kintz Reply ¶ 19;

 6   Supp. Boehmke ¶ 14). In response to Mr. Kintz’s new argument, Mr. Boehmke identified and

 7   compared in his supplemental declaration the base assumptions and calculations used in the

 8                             and Fuji. (Supp. Boehmke ¶¶ 15-17.)

 9               Beam Spacing in Fuji (Supp. Haslim ¶¶ 16-19; Sur-reply at 3:10-12).
10          Mr. Haslim responded to Mr. Kintz’s new argument that there was no evidence that Fuji’s

11                                              (as re-defined by Mr. Kintz) was independently

12   developed by Mr. Boehmke because Mr. Boehmke’s “zones” design was very different. (Kintz

13   Reply ¶ 19; Supp. Haslim ¶¶ 16-19.) In his supplemental declaration, Mr. Haslim compared Mr.

14   Boehmke’s beam spacing and angles (provided in Exhibit E to Mr. Haslim’s original declaration)

15   with Fuji’s actual diode positions and angles (provided in Exhibit B to Mr. Haslim’s original

16   declaration) to show how the latter developed from the former. (Supp. Haslim ¶¶ 17-18.)

17               Development of                                                (Supp. Haslim ¶¶ 12-
                  13).
18

19          Mr. Kintz raised the new argument in his reply declaration that Waymo’s alleged trade

20   secret requires                                          and argued that Mr. Boehmke did not

21   develop this feature. (Kintz Reply ¶ 20.) Mr. Haslim responded in his supplemental declaration

22   to the new argument that Mr. Boehmke’s independent development work did not include the use

23   of                                    by describing his work with Mr. Boehmke on Fuji’s

24         design (citing Exhibits A and E to Mr. Haslim’s original declaration). (Supp. Haslim

25   ¶¶ 12-13.)

26               Dr. Lebby’s Opinion on                         of Diodes (Supp. Lebby ¶ 57).
27          Neither Mr. Kintz’s opening declaration nor his reply declaration addressed Waymo’s

28   alleged trade secret of                             between diodes, but Waymo’s Reply argued

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 1   for the first time that Fuji uses alleged Trade Secret 4 on                      . (Reply at 3; Jaffe

 2   Decl. Ex. 1 at 3.) Dr. Lebby responded to this new argument.

 3          B.        Waymo Altered the Scope of Its Alleged Trade Secret of
 4          In an attempt to avoid evidence of public knowledge, Waymo has attempted to alter the

 5   scope of its alleged trade secret of                                                                   . In

 6   his opening declaration, Mr. Kintz described the alleged trade secret as

 7                                                                                   (Kintz ¶ 49.) In his

 8   reply declaration, Mr. Kintz distinguished the Liu textbook and Scholz dissertation as “teach[ing]

 9   away from using significant               ” and argued that both Fuji and

10                                                      ” which is

11                  (Kintz Reply ¶¶ 43-44.) At his deposition, Mr. Kintz raised the new argument that

12   “significant            ” is specific to laser diode applications and

13                                                 (Kintz Dep. 123:6-15, 125:13-16.) Neither Waymo nor

14   Mr. Kintz had previously said that the                                                      or any other

15   specific length. (Mr. Kintz admitted at deposition that Scholz disclosed “some                 ” and

16   could not say where the trade secret definition required                                               .)

17   (Id. at 125:5-20, 128:16-21.) The following are proper responses on sur-reply to this new

18   definition of the alleged trade secret:

19              Dr. Lebby’s Opinion on Alleged Trade Secret No. 7 (¶¶ 58-61; Sur-reply at 5:5-
                 20).
20
21          Dr. Lebby responded to Mr. Kintz’s new arguments by pointing to Mr. Kintz’s admission

22   at deposition, taken after Defendants’ April 7, 2017 opposition, that the alleged trade secret does

23   not specify an                         , and that any purported benefits of a

24                                  . (Supp. Lebby ¶¶ 58-60.) Dr. Lebby also discussed testimony

25   regarding Velodyne’s use of an                that came up in a deposition taken after Dr. Lebby’s

26   original declaration. (Id. ¶ 61.)

27
28

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 1          C.      Waymo Mischaracterized Dr. Lebby’s Comparison of Fuji and                    ’s
                    Transmit Boards
 2

 3          In his reply declaration, Mr. Kintz argued that Dr. Lebby failed to quantify the different

 4   curvatures of Fuji and        ’s PCB edges and “thus [Lebby] does not counter [Kintz’s] opinion

 5   that the Fuji PCB appears to be a scaled-up version” of        ’s board. (Kintz Reply ¶ 38.) The

 6   following are proper responses on sur-reply:

 7              Dr. Lebby’s Opinion Regarding Differences Between Fuji and                 (Supp.
                 Lebby ¶¶ 3-7; Sur-reply at 3:14-4:12 and 3 n.4).
 8

 9          Dr. Lebby (not Dr. McManamon) compared the Fuji and               transmit boards in his

10   original declaration, dated April 7, 2017, identifying different features and expressly stating that

11   the two boards’ different positioning of diodes can be shown by a comparison he performed of

12   “diode location and angle information” from the Haslim Declaration (for Fuji) and Jaffe

13   Declarations (for        ). (Lebby ¶ 62; see id. ¶¶ 21-27, 60-62.) In response to Mr. Kintz’s reply

14   declaration stating that Dr. Lebby failed to quantify one of the differences between the boards

15   (curvature), Dr. Lebby’s supplemental declaration clarified the comparisons that he undertook for

16   his original declaration. (Supp. Lebby ¶¶ 3, 6-7.) Dr. Lebby also explained how Mr. Kintz’s

17   calculations were based on the wrong focal length of Fuji. (Id. ¶¶ 4-5.)

18              Dr. Lebby’s Review of the 14,000 Allegedly Downloaded Files (¶¶ 67-70).

19          Dr. Lebby did not provide a new opinion regarding the 14,000 allegedly downloaded files,

20   but confirmed that the Waymo files he reviewed are consistent with the           information he

21   previously analyzed and did not change the opinions in his opening declaration. (Supp. Lebby ¶

22   68.)

23          D.      Waymo Raised A New “Minor Modification” Argument for Its Alleged Trade
                    Secret of
24

25          In his opening declaration, Mr. Kintz stated that “the accused LiDAR device uses the

26   same                                   .” (Kintz ¶ 41.) When confronted with Fuji’s actual

27   configuration, Mr. Kintz introduced the new argument that Fuji’s             design and its different

28                       configuration are both “minor modification[s]” derived from Waymo’s

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 1   alleged trade secrets. (Kintz Reply ¶¶ 27-28.) The following are proper responses on sur-reply:

 2              Dr. Lebby’s Opinions on Alleged Trade Secret Nos. 2-3 (¶¶ 62-64; Sur-reply at
                 6:3-7, 6:11-17).
 3

 4          Dr. Lebby responded in his supplemental declaration to Mr. Kintz’s new “minor

 5   modification” argument, contrasting it with Mr. Kintz’s deposition testimony (which was given

 6   after Dr. Lebby’s original declaration and Mr. Kintz’s reply declaration) that it would not be a

 7   “simple modification” to switch from two cavities to one cavity. (Supp. Lebby ¶¶ 62-64.)

 8          E.       Waymo Redefined Its Alleged Trade Secret of Using                  to Require A
                     Combination of Elements
 9

10          Mr. Kintz stated in his opening declaration that Waymo

11                                                                                                (Kintz

12   ¶ 54.) He states,

13           (Id.) In his reply declaration, Mr. Kintz distinguished evidence of public knowledge by

14   arguing that the alleged trade secret requires a combination of three elements:

15

16   (Kintz Reply ¶ 49.) The following are proper responses on sur-reply:

17              Dr. Lebby’s Opinions on Alleged Trade Secret Nos. 14 (¶¶ 65-66; Sur-reply at
                 6:25-26).
18

19          Dr. Lebby responded to Mr. Kintz’s new argument about combining all elements of the

20   alleged trade secret by discussing how the ’109 patent discloses all of them, as Mr. Kintz

21   conceded at deposition. (Supp. Lebby ¶¶ 65-66.)

22              Non-Use of                               (Supp. Haslim ¶ 14).
23          Mr. Haslim responded to Waymo’s new argument that Mr. Haslim did not “disavow

24   Uber’s use of                                      .” (Reply at 7.) In his supplemental declaration,

25   Mr. Haslim explained that he “stated in [his] earlier declaration and again at [his] deposition, the

26                                    in Fuji are not used as                 from which [Uber]

27                                ” (Supp. Haslim ¶ 14.) This explanation contained no new

28

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 1   evidence.10

 2          F.        Waymo Added New Patent and Trade Secret Allegations Against Spider
 3          In his reply declaration, Mr. Kintz withdrew his patent infringement allegations against

 4   Fuji and redirected them against Spider instead. (Kintz Reply ¶¶ 80-84.) He also identified a

 5   new trade secret allegation against Spider, arguing that                                       is a

 6   Waymo trade secret. (Id. ¶¶ 72-79.) Mr. Kintz acknowledged that

 7                   was not an alleged trade secret discussed in his opening declaration. (Id. ¶ 55.) The

 8   following are proper responses on sur-reply:

 9                Description of the Spider Device (Supp. Haslim ¶¶ 2-10, 20-23; Sur-reply at 7:1-6
                   and n.10).
10

11          In response to Mr. Kintz’s new patent allegations against Spider, Mr. Haslim described

12   Spider’s eight-cavity fiber laser design and how no Spider LiDAR was ever made, used, sold,

13   offered for sale, or imported. (Supp. Haslim ¶¶ 2-10, 20-23.) He also explained how Spider’s

14                             design used commercially-available fiber purchased from a vendor and

15   disclosed on a public website, which advertised the fiber for LiDAR applications. (Id. ¶¶ 7-8.)

16                                                Conclusion
17          Defendants’ sur-reply declarations properly respond to the moving targets presented by

18   Waymo’s allegations. “Experience has shown that it is easy to allege theft of trade secrets with

19   vagueness, then take discovery into the defendants’ files, and then cleverly specify what ever

20   happens to be there as having been trade secrets stolen from plaintiff.” Jobscience, Inc. v.

21   CVPartners, Inc., No. C 13-04519 WHA, 2014 WL 852477, at *5 (N.D. Cal. Feb. 28, 2014). In

22   its reply papers, Waymo has relied on precisely this “vagueness” to redefine its trade secrets after

23   obtaining discovery, and Defendants should be allowed to respond in full. For these reasons,

24   Waymo’s objections to Defendants’ sur-reply declarations should be overruled.

25

26          10
                Waymo does not object to Mr. Haslim’s statement that “[a] known technique of
     mounting laser diodes onto PCBs is to die attach and wire bond the laser diodes
27   that are integrated into PCBs.” (Supp. Haslim ¶ 14.) This statement responds to Mr. Kintz’s new
     opinion regarding the alleged trade secrets of               , which was not in Mr. Kintz’s
28   opening declaration.
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 1   Dated: May 5, 2017                           MORRISON & FOERSTER LLP

 2
                                                  By: /s/Michael A. Jacobs
 3                                                      MICHAEL A. JACOBS
 4                                                Attorneys for Defendants
                                                  UBER TECHNOLOGIES, INC.
 5                                                and OTTOMOTTO LLC
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     DEFENDANTS’ RESPONSE TO WAYMO’S OBJECTIONS TO EVIDENCE CITED IN DEFENDANTS’ PRELIMINARY
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